Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 1 of 17




                            EXHIBIT C-2
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 2 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 3 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 4 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 5 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 6 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 7 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 8 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 9 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 10 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 11 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 12 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 13 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 14 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 15 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 16 of 17
Case 1:24-cv-20492-RKA Document 35-6 Entered on FLSD Docket 06/14/2024 Page 17 of 17
